           Case 2:21-cv-00774-RDP Document 1 Filed 06/07/21 Page 1 of 6                  FILED
                                                                                2021 Jun-07 PM 03:05
                                                                                U.S. DISTRICT COURT
                                                                                    N.D. OF ALABAMA


                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION

CHARLES CHRISMAN,                             )
                                              )
      Plaintiff,                              )
                                              )     Civil Action No.
vs.                                           )
                                              )
31-W INSULATION CO., INC.,                    )

      Defendant.


                                   COMPLAINT

                                I. JURISDICTION

      1. This is a suit for relief from discriminatory employment termination

instituted pursuant to the Americans with Disabilities Act (“ADA”), as amended, 42

U.S.C. §12101 et seq. Jurisdiction of this Court exists pursuant to 28 U.S.C. §§1331

and 1343(4).

      2.      Plaintiff Charles Chrisman (“Plaintiff”) timely filed his charge of

discrimination against defendant 31-W Insulation Co., Inc. (“Defendant”) with the

Equal Employment Opportunity Commission within 180 days after the last act of

discriminatory treatment. Plaintiff has further filed this suit within 90 days after

receipt of his right-to-sue letter issued from the EEOC.
         Case 2:21-cv-00774-RDP Document 1 Filed 06/07/21 Page 2 of 6




                                   II. PARTIES

      3. Plaintiff is a citizen of the United States over the age of nineteen and a

resident of Jefferson County, Alabama.

      4. Defendant is a corporation headquartered in Goodlettsville, Tennessee.

                         III. STATEMENT OF FACTS

      5. In or about August of 2019, Plaintiff became employed by Defendant at its

location in Bessemer, Alabama.

      6. On or about July 27, 2020, Plaintiff’s physician took him off work the week

of July 27 due to anxiety and depression.

      7. Plaintiff took a note from his physician to Defendant’s Bessemer location

and gave it to Teresa D’Amore.

      8. D’Amore was Defendant’s Regional Manager over the Bessemer location.

      9. The note provided that Plaintiff be off work from July 27 through August

2 with a return to work date of August 3.

      10. Plaintiff told D’Amore that his physician had diagnosed him with anxiety

and depression and had prescribed him medication for it, and that his physician

wanted him to take that week off of work to improve and get used to the medication

to see if any adjustments needed to be made to it.




                                            2
         Case 2:21-cv-00774-RDP Document 1 Filed 06/07/21 Page 3 of 6




       11. On or about July 31, 2020, D’Amore sent Plaintiff an email terminating

him “effective immediately.”

       12. The email simply stated as grounds that Plaintiff’s “services at 31W [were]

no longer needed.”

       13. Plaintiff had no prior disciplinary actions.

                            IV. CAUSES OF ACTION

                                      COUNT I

                                         ADA

       14. Paragraphs 1-13 are incorporated herein.

       15. Defendant was a covered employer under the ADA at all times relevant to

this case.

       16. Plaintiff’s anxiety and depression constituted a mental impairment under

the ADA during the events of this case.

       17. Due to this impairment, Plaintiff was substantially limited with respect to

the major life activity of the operation of his neurological system, as well as

concentrating, thinking, communicating, interacting with others, and working during

flare-ups.

       18. Plaintiff was disabled under the ADA during the events of this case.




                                           3
         Case 2:21-cv-00774-RDP Document 1 Filed 06/07/21 Page 4 of 6




       19. Further, Defendant perceived Plaintiff as disabled under the ADA during

the events of this case.

       20. Plaintiff was and is a qualified individual able to perform the essential

functions of his position, with accommodation.

       21. Plaintiff’s request that he be excused for absences caused by his disability

was a request for a reasonable accommodation under the ADA.

       22. Defendant violated Plaintiff’s rights under the ADA by terminating him (a)

because of his disability, actual or perceived, (b) as a result of its failure to reasonably

accommodate that disability in allowing him to take off work for it, and/or (c) in

retaliation for his request for an accommodation for that disability in taking off work

because of it.

       23. As a result of the above described discriminatory act, Plaintiff has been

made to suffer lost wages and benefits, emotional distress, and mental anguish.

       WHEREFORE, these premises considered, Plaintiff respectfully requests the

following:

       (i) That the Court issue an Order declaring that Defendant’s actions described

herein violated the ADA;




                                             4
         Case 2:21-cv-00774-RDP Document 1 Filed 06/07/21 Page 5 of 6




      (ii) That the Court grant Plaintiff a permanent injunction enjoining Defendant,

and its agents, employees, successors, and those acting in concert with Defendant,

from continuing to violate the ADA;

      (iii) That the Court enter an Order requiring Defendant to make Plaintiff whole

by reinstating Plaintiff and placing him into the position he would have occupied in

the absence of discrimination (or, alternatively, providing front-pay), providing back-

pay and lost benefits, and ordering Defendant to pay compensatory and punitive

damages as a jury may assess;

      (iv) That the Court award Plaintiff pre-judgment and post-judgment interest at

the highest rates allowed by law and an amount to compensate him for any adverse

tax consequences as a result of a judgment in his favor; and

      (v) That the Court award such other legal and equitable relief as justice

requires, including, but not limited to, an award of costs, expert witness fees,

attorney’s fees, and expenses.




                                          5
       Case 2:21-cv-00774-RDP Document 1 Filed 06/07/21 Page 6 of 6




                                       Respectfully submitted,

                                       s/ Adam M. Porter
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                                       Attorney for Plaintiff
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                                       Birmingham, Alabama 35203
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           Plaintiff requests trial by struck jury.

                                       s/ Adam M. Porter
                                       Attorney for Plaintiff


Defendant’s Address:
31-W Insulation Co., Inc.
c/o Edwin Ownbey, Registered Agent
194 Import Cir.
Huntsville, AL 35806




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